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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION AT LONDON
                                 (Electronically Filed)



DAVID WILSON, as Administrator of the
Estate of Lisa Noble, Deceased, Plaintiff
                                              )
vs.                                           )
                                              )   CIVIL ACTION NO. 6:17-157-KKC
                                              )
BEACON TRANSPORT, LLC and                     )
TERRAN COOPER, Defendants                     )
                                              )
____________________________________


                      AMENDED NOTICE TO TAKE DEPOSITION

       Notice is hereby given that the Defendants, by counsel, will proceed to take the deposition

of Swaroop Dinakar on the 11th day of September, 2018 at 9:00 a.m. E.S.T at Courtyard by

Marriott Hartford Cromwell, 4 Sebethe Drive, Cromwell, CT 06416, in the King Room

Conference Room.

       Said deposition will be taken upon cross-examination, for purposes of discovery and for all

other purposes allowable under the Kentucky Rules of Civil Procedure.

       This the 7th day of September, 2018.

                                              JUDD, SATTERFIELD & ASSOCIATES, PLLC
                                              869 Broadway Avenue
                                              P.O. Box 51093
                                              Bowling Green, KY 42102
                                              Telephone: (270) 904-4141
                                              Facsimile: (888) 590-2842

                                              /s/Harlan E. Judd, III____________
                                              Harlan E. Judd, III
Case: 6:17-cv-00157-CHB-HAI Doc #: 87 Filed: 09/07/18 Page: 2 of 2 - Page ID#: 646




                                CERTIFICATE OF SERVICE

        This is to certify that a true and exact copy of the foregoing was placed in the U.S. Mail
on the 7th day of September, 2018, addressed to the following:

Randall Jewell
Jewell Law Office, PLLC
P.O. Drawer 670
Barbourville, Kentucky 40906

Billy J. Taylor
Taylor Law Office, PLLC
110 Know Street, Suite A
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Swaroop Dinakar
201 W High St.
Unit B-8
East Hampton, CT 06424



                                             /s/Harlan E. Judd, III____________
                                             Harlan E. Judd, III
                                             Counsel for the Defendants




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